 

 

Case 7:06-po-00259-mfu Document 3 Filed 08/04/06 Page1ofi Pageid#: 3

 

 

AO245H (Rev. 12/03 - VAW Additions 1/06) Judgment in a Criminal Case for a Petty Offense (Short Form)
! Sheet 1
CLERK'S OFFICE US OIST. COURT
UNITED STATES DISTRICT COURT #0ANOKE' vA
Western District of Virginia
AUG 0 4 2006
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL, GASE gunn CLERK
Vv. (For a Petty Offense) - Short Forpyy. : Ape”
CASE NUMBER: DVAW706MJ000259-O(JEPUTY CLERK
Kyle B. Clark
CASE NUMBER:
USM NUMBER:
Defendant's Attorney
THE DEFENDANT:

] THE DEFENDANT pleaded guilty to count(s) _one

The defendant is adjudicated guilty of these offenses:

Title & Section

36 CFR 4.2(b) - VA
Code 46.2-301

Nature of Offense
Driving While Suspended

 

[1 Count(s} is
CRIMINAL MONETARY PENALTIES

 

Offense Ended Count

5/5/06 !

dismissed on the motion of the United States pursuant to Rule 48{a).

All criminal monetary penalty payments are to be made as directed by the court.

Assessment Fine Processing Fee
Total: $ 10.00 $ 250.00 $ 25.00

Defendant's Soc. Sec.No.: 5627

August 3, 2006

 

 

Defendant's Date of Birth: 1981

 

Defendant's Residence Address:
Bedford, VA

Defendant's Mailing Address:

Bedford, VA

Date of Imposition of Judgment

 

 

Signature of Judge

Michael F. Urbanski, U.S. Magistrate Judge

 

Name and Title of Judge

KIU/ 3%

Datel it

 
